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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT


NICOLE CHASE                               :      NO.: 3:18-cv-00683 (VLB)
                                           :
v.                                         :
                                           :
NODINE’S SMOKEHOUSE, INC., et al           :      OCTOBER 21, 2019

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      TO NODINE’S SMOKEHOUSE, INC.’S SUMMARY JUDGEMENT MOTION

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                                     THE PLAINTIFF,
                                     NICOLE CHASE


                                     By:_ Mary-Kate Smith
                                     Lewis Chimes (Juris No. 303446)
                                     Mary-Kate Smith (Juris No. 423804)
                                     Law Office of Lewis Chimes LLC
                                     45 Franklin Street
                                     Stamford, CT 06901
                                     Phone: (203)324-7744
                                     Facsimile: (203)969-1319
                                     Email: lchimes@chimeslaw.com
                                            msmith@chimeslaw.com




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                                         CERTIFICATION


        I HEREBY CERTIFY that on the 21st day of October, 2019 a copy of the
foregoing was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by email to all parties by operation
of the court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access
this filing through the court’s CM/ECF System.
Elizabeth K. Acee
LeClair Ryan, PLLC
545 Long Wharf Drive, 9th Floor
New Haven, CT 06511

David A Moraghan
Smith Keefe Moraghan & Waterfall LLC
P.O Box 1146
257 Main Street, 2nd floor
Torrington, CT 06790

Kristan M. Maccini
Christopher A. Clark
Howd & Ludorf, LLC
65 Wethersfield Avenue
Hartford, CT 06114-1190




                                                ___/s/ Mary-Kate Smith
                                                       Mary-Kate Smith




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